      Case 3:08-cr-00085-LC        Document 145         Filed 11/25/08      Page 1 of 3




             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA
          Plaintiff,

vs.                                                    Case No. 3:08cr85/LAC

AMARDEEP GOUD CHERLAPALLI,
a/k/a Andy Cherlapalli;
a/k/a Amar Cherlapalli;
a/k/a Amardeep Goud;
a/k/a Goud C. Amardeep,
             Defendant.
______________________________/

                     PRELIMINARY ORDER OF FORFEITURE

        WHEREAS, in the Indictment in the above-entitled action, the United States

sought forfeiture from the defendant, AMARDEEP GOUD CHERLAPALLI, pursuant

to Title 8, United States Code, Section 1324(b), and Title 18, United States Code, Section

982(a)(6), the defendant’s interests in any property, real or personal, involved in the

violations set forth in Counts One and Three of said Indictment and/or any property

traceable to such property;

        AND WHEREAS, on or about October 9, 2008, the defendant, AMARDEEP

GOUD CHERLAPALLI, pled guilty to Counts One and Three of the Indictment

pursuant to a plea and cooperation agreement outlining such forfeiture;

        AND WHEREAS, by virtue of said plea agreement, the United States is now

entitled to entry of a Preliminary Order of Forfeiture against all of defendant’s interest in
    Case 3:08-cr-00085-LC         Document 145         Filed 11/25/08      Page 2 of 3




said property, pursuant to Title 8, United States Code, Section 1324(b), and Title 18,

United States Code, Section 982(a)(6), and Rule 32(d)(2) and 32.2(b) of the Federal

Rules of Criminal Procedure; now wherefore,

       IT IS HEREBY ORDERED:

       1.      That all of defendant’s rights and interest in the property described

below is hereby forfeited to and vested in the United States of America.

       2.      That property which is subject to forfeiture in this Order is as follows:

       A.      One 2005 silver Honda bearing Vehicle Identification Number

               1HGCM56195A109400 registered to defendant AMARDEEP GOUD

               CHERLAPALLI;

       B.      $563.97 in U.S. currency located in Wachovia Bank account ending in

               account number 2379, for which the defendant AMARDEEP GOUD

               CHERLAPALLI and U.C. were signatories;

       C.      $7,480.55 in U.S. currency located in Wachovia Bank account ending

               in account number 0261 and titled in the name of Baba Enterprises,

               LLC;

       D.      $55,397.56 in U.S. currency located in Wachovia Bank account ending

               in account number 0290 and titled in the name of Baba Enterprises,

               LLC;




                                             2
    Case 3:08-cr-00085-LC        Document 145        Filed 11/25/08     Page 3 of 3




       E.     $97,439.78 in U.S. currency located in Wachovia Bank account ending

              in account number 9748 and titled in the name of Baba Enterprises,

              LLC;

       F.     $61,147.00 in U.S. currency seized from Bestway Food Store, 2110

              Gulf Beach Highway, Pensacola, Florida.

       3.     That a Preliminary Order of Forfeiture is hereby entered in favor of the

United States against defendant, AMARDEEP GOUD CHERLAPALLI, pursuant to

Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure.

       IT IS SO ORDERED this 25th day of November, 2008




                                    s /L.A. Collier
                                    LACEY A. COLLIER
                                    SENIOR UNITED STATES DISTRICT JUDGE




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